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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

FREEMAN, et al.                     )
                                    )
      v.                            )   Case No. 1:23-cv-3754-BAH
                                    )
GIULIANI                            )
                                    )
____________________________________)
                  DEFENDANT’S MOTION TO APPEAR VIRTUALLY




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                                   PRELIMINARY STATEMENT
        Defendant Rudy Giuliani (“Defendant” or “Mayor Giuliani”), by and through counsel,

respectfully requests that he be allowed to appear virtually at the hearing in this matter set for

January 10, 2025. Defendant has conferred with counsel for Plaintiffs, who take no position on

the request.

        Mayor Giuliani lives in Florida. He is 80 years old and suffers from a number of medical

conditions. These include a severe knee conditions, one which involves a knee that has already

been the subject of emergency surgery and the other that will require surgery and rehab, as well

as a lung condition that requires the use of an inhaler. Moreover, Mayor Giuliani has had two

stents inserted to deal with a 95% blockage in one coronary artery and an 85% blockage in the

other coronary artery. Mayor Giuliani takes medication for his heart condition and carries

nitroglycerin with him at all times.

        In addition, there have been a number of credible death threats against Mayor Giuliani,

including two successful prosecutions and others that could be detailed if necessary.1 As one of

the more outspoken critics of the current Iranian regime, at a time of heightened terrorism

concerns following the recent events in New Orleans and Las Vegas and the escalating conflict

between Israel and Iran and its various proxies, it is reasonable to take extra precautions

regarding Mayor Giuliani’s safety, and to limit travel whenever possible. All of this not only

makes travel burdensome, but also complicates entrance to and exit from the Courthouse. For

these reasons, Mayor Giuliani’s health and safety concerns strongly militate in favor of

permitting him to appear remotely at the January 10 hearing.

1
 See https://www.yahoo.com/news/exclusive-us-government-warns-iran-may-try-to-kill-american-officials-in-
revenge-for-killing-top-general-162641423.html?guccounter=1




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                                      LEGAL STANDARD

Fed. R. Civ. P. 43(a) provides:

       At trial, the witnesses’ testimony must be taken in open court unless a
       federal statute, the Federal Rules of Evidence, these rules, or other rules
       adopted by the Supreme Court provide otherwise. For good cause in
       compelling circumstances and with appropriate safeguards, the court may
       permit testimony in open court by contemporaneous transmission from a
       different location.

Fed. R. Civ. P. 43(c) provides:

       When a motion relies on facts outside the record, the court may hear the
       matter on affidavits or may hear it wholly or partly on oral testimony or on
       depositions.

Plaintiffs’ Motion for Civil Contempt (the “Mot.”) relies almost exclusively on alleged facts

outside the record, namely, short extracts from unauthenticated videos made generally available

to the public. Accordingly, Fed. R. Civ. P. 43(c) applies to the Mot. and a showing of good cause

and compelling circumstances is not required to permit witnesses to testify remotely. In a recent

contempt proceeding in the pending turnover action in the Southern District of New York,

Freeman v. Giuliani, Case No. 1:24-cv-6563, the Southern District authorized Mayor Giuliani’s

remote testimony based on a simple letter from counsel and did not require a showing of good

cause and compelling circumstances. See 24-cv-6563, Dkts. 177, 183. Accordingly, the Court is

free to exercise its discretion to permit Mayor Giuliani to appear and testify remotely.

       Some Circuits have held that a civil contempt proceeding is a “trial” for purposes of Rule

43(a). See Pennwalt Corp. v. Durand-Wayland, Inc., 708 F.2d 492, 495 (9th Cir. 1983).

Defendant is unaware of any such rule in the District of Columbia. However, if the Court applies

the good cause and compelling circumstances standard required under Fed. R. Civ. P. 43(a),

Mayor Giuliani submits his personal circumstances meet this stringent standard.




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                                     LEGAL ARGUMENT

       Mayor Giuliani suffers from a number of medical conditions that make travel challenging

and risky. See supra at 1. In addition, Mayor Giuliani has been the target of hatred and death

threats from many sources, which often requires the mobilization of a security team for travel

outside of Defendant’s home in Florida and will complicate Defendant’s in-person participation

in the January 10 hearing. Id. These factors provide sufficient support for the Court to exercise

its inherent discretionary authority to permit Mayor Giuliani to appear remotely at this Friday’s

hearing. See 24-cv-6563, Dkt. 183.

       However, even if the Court applies Fed. R. Civ. P. 43(a), the Court should permit

Defendant to appear remotely. Mayor Giuliani’s medical and security concerns satisfy the

constitute good cause and compelling circumstances requirements under Rule 43(a). See

Donahue v. U.S. Dep't of Homeland Sec., No. 16-CV-02443 (APM), 2021 WL 5764710, at *1

(D.D.C. Sept. 30, 2021), aff'd sub nom. Donahue v. United States Dep't of Homeland Sec.,

FEMA, No. 21-5268, 2023 WL 7919630 (D.C. Cir. Nov. 16, 2023) (health circumstances satisfy

requirements for remote testimony); Wilson v. United States, No. 218CV1241JCMNJK, 2023

WL 2795866, at *2 (D. Nev. Apr. 5, 2023) (health procedure constitutes good cause under Rule

43(a)); Sawant v. Ramsey, No. 3:07-CV-980 VLB, 2012 WL 1605450, at *3 (D. Conn. May 8,

2012) (health conditions constitute good cause and compelling circumstances). As to the

security risks to Mayor Giuliani, while Defendant is unaware of any specific authority directly

on point under Rule 43, courts have recognized that threats to individuals constitute “good

cause” for other purposes. See, e.g., Jones v. City of Saratoga Springs, No. 2:23-CV-00019-

AMA-CMR, 2024 WL 4028206, at *2 (D. Utah Sept. 3, 2024) (violent threats directed at

defendants established good cause for issuance of a protective order); In re Carrsow-Franklin,

456 B.R. 753, 758 (Bankr. D.S.C. 2011) (death threats and damage to reputation resulting from
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negative publicity constituted “good cause” for purposes of entry of protective order). In the

current climate of heightened security risks following the terrorist attack in New Orleans and the

apparent attempted bombing of a Trump hotel in Las Vegas, Defendant’s security concerns

should be taken seriously. These heightened risks could not have been known at the time the

Court initially scheduled the contempt hearings.

       Finally, there are clearly “adequate safeguards” for the taking of remote testimony. In the

wake of the Covid pandemic, when remote proceedings were routine in many cases, the Court is

equipped with state-of-the-art video conferencing technology, which courts routinely find is

sufficient to satisfy the “adequate safeguards” prong of Rule 43(a). See Novello v. Progressive

Express Ins. Co., No. 8:19-CV-1618-KKM-JSS, 2021 WL 1597937, at *1 (M.D. Fla. Apr. 23,

2021); House v. Players' Dugout, Inc., No. 3:16-CV-00594-RGJ, 2021 WL 4898071, at *13

(W.D. Ky. Oct. 20, 2021) (courts have found that video testimony can sufficiently enable cross-

examination and credibility determinations, as well as preserve the overall integrity of the

proceedings) (citing Aoki v. Gilbert, No. 2:11-cv-02797, 2019 WL 1243719, at *1 (E.D. Cal.

Mar. 18, 2019). To the extent any specific procedures are required, these could be put in an

appropriate order. See In re Alle, No. 2:13-BK-38801-SK, 2021 WL 3032712, at *5 (C.D. Cal.

July 19, 2021) (implementing Zoom procedures, such as use of neutral background, visibility of

speaker from waist up, and forbidding the use of electronics in room from which the witness is

testifying). Mayor Giuliani will comply with any requirements of the Court relating to remote

appearances and testimony.


                                         CONCLUSION

       For the foregoing reasons, Mayor Giuliani respectfully requests that the Court permit him

to appear virtually at the January 10, 2025 hearing.


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Dated: January 8, 2025                         Respectfully submitted,

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